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 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                         CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                       ORDER TO STRIKE BELATED CROSS
                                                             CLAIMS
13          vs.
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                          Defendants.
                                                  /
17
     AND RELATED CROSS-ACTION.
18
     ___________________________________/
19
20          This Court’s November 12, 2009 order required defendants Northern California Universal
21   Enterprises Company, Inc. (“NCUE”) and Lotus Developments, L.P. (“Lotus”) to show cause why this
22   Court should not impose sanctions for disobedience of this Court’s scheduling order and belated filing
23   of cross claims well after discovery and motion deadlines had passed. NCUE and Lotus’ counsel filed
24   a November 16, 2009 declaration which offers no good cause to disobey the scheduling order or to file
25   belated cross claims against defendants City of Wasco (“Wasco”) and Dennis W. DeWalt, Inc.
26   (“DeWalt”). In fact, the declaration reveals counsel’s awareness of the scheduling order and knowing
27   disobedience of it. As such, this Court STRIKES the cross claims against Wasco and DeWalt (doc. 187,
28   p. 11, ln. 1 to p. 17, ln. 11). See F.R.Civ.P. 16(f)(1)(C).

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 1          NCUE and Lotus’ counsel again demonstrates disregard of this Court’s orders. This Court will
 2   not tolerate such disobedience which it will consider for future sanctions.
 3          This Court again ADMONISHES all parties and counsel to comply with this Court’s orders,
 4   Local Rules and the Federal Rules of Civil Procedure. This Court requires counsel, as officers of the
 5   Court, to comply with their ethical and professional obligations.
 6          IT IS SO ORDERED.
 7   Dated:     November 17, 2009                     /s/ Lawrence J. O'Neill
     66h44d                                       UNITED STATES DISTRICT JUDGE
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